             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                       SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )
                                                      )
       vs.                                            )       No. 07-05060-09-CR-SW-ODS
                                                      )
JOSHUA A. McGINNIS,                                   )
                                                      )
                               Defendant.             )

                       REPORT AND RECOMMENDATION OF THE
                         UNITED STATES MAGISTRATE JUDGE


       Defendant Joshua A. McGinnis has filed a Motion to Sever or, in the Alternative,

Motion to Dismiss. Defendant contends because he was improperly joined with co-defendants,

and that the matter should be dismissed. He further contends that because he was improperly

joined, the continuances previously granted to co-defendants resulted in a speedy trial violation.

The United States has filed a response, which details the evidence it expects to present at trial.

       Because this case involves a mixture of both offenses and defendants, it is governed by

8(b) of the Federal Rule of Criminal Procedure. Joinder is proper if the offense is alleged to be

part of “the same series of acts or transactions,” to mean “acts or transactions that are pursuant to

a common plan or common scheme, which is to say (in the usual case) that the acts or

transactions are part of a single conspiracy.” United States v. Jones, 880 F.2d 55, 61 (8th Cir.

1989). The United States expects its evidence to include 56 intercepted telephone conversations

obtained during the course of a Title III , directly involving the monitoring of Joshua McGinnis.

These conversations involve obtaining controlled substances from a co-defendant for sale, that




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indicates a knowledge of the role of his co-defendant and brother Joshua McGinnis, and could

lead a jury to conclude that the defendant was aware of the existence of “a stash house.” That

stash house is the residence of another co-defendant.

       For the reasons set out above, it is clear the defendants are properly joined. There is

therefore a strong presumption for a joint trial. To the extent that there could be spillover from

evidence involving co-defendants, that can be minimized by an instruction to the jury. United

States v. Kuenstler, 325 F.3d 1024. Because of that, the mere fact of disparity in the extent of

involvement does not require severance. It is also noteworthy that the number of telephone

conversations involving this defendant is not significantly different than that of several other co-

defendants. See response of the United States, page 18.

       Defendant’s asserts that because joinder was improper, time excluded from the Speedy

Trial Act should not be applicable to him. First, that argument fails because the defendant was

not improperly joined. In addition, two motions for continuance were granted (Docs. 138 and

158). In each of the orders, the court finds that the ends of justice are served by granting the

continuance. Defendant Joshua McGinnis did not object to either motion for continuance, nor

had he sought a severance. The granting of the motions for continuance did not violate the

defendant’s right to a speedy trial under the Speedy Trial Act.

       Finally, defendant contends that the evidence of the United States demonstrates multiple

conspiracies. The court notes initially that the issue of whether a single conspiracy or multiple

conspiracies existed is a question for the jury. United States v. Adipietro, 983 F.2d 468, 1475

(8th Cir. 1993). Defendant’s speculation that the evidence will establish multiple conspiracies is

not a grounds for dismissal. He has remedies available to him at the trial stage.

       For the above reasons, it is hereby




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       RECOMMENDED that the defendant’s Motion to Sever or, in the Alternative, Motion to

Dismiss be denied.




                                                     /s/ James C. England
                                                JAMES C. ENGLAND, Chief
                                               United States Magistrate Judge



Date: June 3, 2008




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